                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
_______________________________________
                                        )
UNITED STATES OF AMERICA                )  Docket No. 5:15-cr-38-RLV
                                        )
            v.                          )
                                        )
(3) LEENARDO VANG                       )  ORDER
_______________________________________ )



       This matter is before the Court on the Motion of the United States of America to dismiss

the charges against Defendant Leenardo Vang in the Bill of Indictment in the above-captioned

case, because he has entered a guilty plea to the bill of information in the related case of 5:15-cr-

55-RLV.

       It is hereby ordered that the motion be GRANTED and the charges against Defendant

Leenardo Vang in the above-captioned Bill of Indictment be dismissed without prejudice.

       SO ORDERED.


                                       Signed: October 22, 2015




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